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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




   IN RE: NATIONAL PRESCRIPTION                                  MDL No. 2804
         OPIATE LITIGATION

         This document relates to:                           Hon. Dan Aaron Polster
 The County of Summit, Ohio, et al. v. Purdue
             Pharma L.P., et al.
           Case No. 18-op-45090


              DEFENDANTS AMERISOURCEBERGEN DRUG CORP.,
               CARDINAL HEALTH, INC., AND McKESSON CORP.’S
             MOTION FOR ORAL ARGUMENT ON MOTION TO DISMISS

       Defendants AmeriSourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson

Corporation (collectively, the “Distributor Defendants”) respectfully request that the Court hold

oral argument on their Motion to Dismiss Plaintiffs’ Second Amended Complaint. Due to the

volume and complexity of the issues raised in the parties’ briefing on the motion, oral argument

will give the parties an opportunity to explain and clarify their positions and respond to any

questions or concerns from the Court to help in the Court’s decision-making process.

       This Court has routinely found oral argument to be appropriate and helpful in ruling on

motions to dismiss in MDLs or other complex litigation dealing with issues of great public

importance. See, e.g., In re Polyurethane Foam Antitrust Litg., 799 F. Supp. 2d 777, 781 (N.D.

Ohio 2011); In re Travel Agent Comm’n Antitrust Litg., MDL No. 1561, Case No. 1:03 CV

30000, 2007 U.S. Dist LEXIS 79918, at *6 (N.D. Ohio Oct. 29, 2007); White v. Smith & Wesson,

97 F. Supp. 2d 816, 820 (N.D. Ohio 2000).
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        The Second Amended Complaint is 1,137 paragraphs long, and the allegations span 326

pages. Plaintiffs assert eight separate causes of action against the Distributor Defendants, and

the Distributor Defendants have moved to dismiss them all. Further, the Court’s resolution of

the Distributor Defendants’ Motion to Dismiss will inform the entire docket of more than 900

cases in the MDL and narrow the issues in this litigation significantly. Indeed, that is one reason

the Court selected this case for motion practice at this time.            Given the importance and

complexity of the issues raised, oral argument will assist the Court in ruling on the motions and

facilitate the creation of a clear record in this important litigation.

        For the foregoing reasons, and for good cause shown, the Distributor Defendants

respectfully request the Court hold oral argument on their Motion to Dismiss.
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Dated: July 13, 2018                      Respectfully submitted,


/s/ Robert A. Nicholas                    /s/ Enu Mainigi
Robert A. Nicholas                        Enu Mainigi
Shannon E. McClure                        F. Lane Heard III
REED SMITH LLP                            Steven M. Pyser
Three Logan Square                        Ashley W. Hardin
1717 Arch Street, Suite 3100              WILLIAMS & CONNOLLY LLP
Philadelphia, PA 19103                    725 Twelfth Street, N.W.
Tel: (215) 851-8100                       Washington, DC 20005
Fax: (215) 851-1420                       Tel: (202) 434-5000
rnicholas@reedsmith.com                   Fax: (202) 434-5029
smcclure@reedsmith.com                    EMainigi@wc.com
                                          lheard@wc.com
Counsel for AmerisourceBergen Corporation spyser@wc.com
and AmerisourceBergen Drug Corporation    ahardin@wc.com
                                          Counsel for Cardinal Health, Inc.
/s/ Geoffrey Hobart
Geoffrey Hobart
Mark Lynch
Christian Pistilli
COVINGTON & BURLING LLP
One CityCenter
850 Tenth Street NW
Washington, DC 20001
Tel: (202) 662-5281
ghobart@cov.com
mlynch@cov.com
cpistilli@cov.com

Counsel for McKesson Corporation
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                               CERTIFICATE OF SERVICE

       I, Ashley W. Hardin, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.




                                                /s/ Ashley W. Hardin
                                                Ashley W. Hardin
